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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


XIN YUE,                                             :
                                                     :    CIVIL NO. 2:20-CV-05099-JMV-MF
           Plaintiff,                                :
V.                                                   :    AMENDED SCHEDULING ORDER
                                                     :
STEWART LOR,                                         :
                                                     :
           Defendant.                                :
                                                     :



         THIS MATTER having come before the Court upon a joint application of the parties for

an extension of the time-limits in the discovery order (Doc. 25) as follows, and for good cause

shown:

         IT IS ORDERED THAT THE current discovery order in this matter shall be amended as

follows:

     •   Any unresolved discovery disputes (other than those that arise during depositions) must be

         brought before the Court no later than February 26, 2021;

     •   Fact discovery to remain open through March 31, 2021;

     •   All affirmative expert reports shall be delivered by April 30, 2021, with depositions of

         those experts to be taken and completed within 30 days of receipt of the report;

     •   All responding expert reports shall be delivered by May 31, 2021, with depositions of those

         experts to be taken and completed within 30 days of receipt of report.

All other deadlines and provisions in the entered Discovery Order (Doc. 25) are still in effect

and/or are unchanged.
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IT IS SO ORDERED.

Dated: 1/26/21

                            _s/Mark Falk______________, U.S.M.J.
                             Hon. Mark Falk, Chief U.S.M.J.
